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                                                              19-cv-130-CVE-FHM
                                                              19-cv-131-CVE-JFJ
                                                              19-cv-132-TCK-JFJ
                                                              19-cv-133-JED-FHM
                                                              19-cv-134-CVE-FHM
                          UNITED STATES JUDICIAL PANEL        19-cv-136-CVE-JFJ
                                          on
                           MULTIDISTRICT LITIGATION



    IN RE: NATIONAL PRESCRIPTION OPIATE
    LITIGATION                                                                            MDL No. 2804



                                            (SEE ATTACHED SCHEDULE)



                               CONDITIONAL TRANSFER ORDER (CTO í85)



    On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
    the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
    U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,334 additional action(s)
    have been transferred to the Northern District of Ohio. With the consent of that court, all such
    actions have been assigned to the Honorable Dan A. Polster.

    It appears that the action(s) on this conditional transfer order involve questions of fact that are
    common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
    Polster.

    Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
    Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
    Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
    consent of that court, assigned to the Honorable Dan A. Polster.

    This order does not become effective until it is filed in the Office of the Clerk of the United States
    District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
    stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
    Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                                     FOR THE PANEL:


                       Mar 28, 2019
                                                                     Jeffery N. Lüthi
                                                                     Clerk of the Panel




           I hereby certify that this instrument is a true and correct copy of
           the original on file in my office. Attest: Sandy Opacich, Clerk
           U.S. District Court, Northern District of Ohio
           By: /s/Robert Pitts
           Deputy Clerk
Case 4:19-cv-00130-CVE-FHM Document 6 Filed in USDC ND/OK on 03/28/19 Page 2 of 4




    IN RE: NATIONAL PRESCRIPTION OPIATE
    LITIGATION                                                                MDL No. 2804



                       SCHEDULE CTOí85 í TAGíALONG ACTIONS



      DIST      DIV.     C.A.NO.      CASE CAPTION


    ARIZONA

       AZ        3       19í08070     Navajo, County of v. Purdue Pharma LP et al

    INDIANA SOUTHERN

                                      TOWN OF DANVILLE, INDIANA v.
       INS       1       19í00957     AMERISOURCEBERGEN DRUG CORPORATION et
                                      al

    KENTUCKY EASTERN

      KYE        7       19í00026     City of Whitesburg v. Purdue Pharma L.P. et al

    NEW MEXICO

                                      Board of County Commissioners of the County of
       NM        2       19í00208     Otero, New Mexico v. AmerisourceBergen Drug
                                      Corporation et al

    NEW YORK WESTERN

      NYW        6       19í06186     City of Geneva, New York v. Purdue Pharma, L.P. et al

    OKLAHOMA NORTHERN

                                      County Commission of Washington County, Oklahoma,
      OKN        4       19í00130     The v. Purdue Pharma, L.P. et al
                                      County Commission of Okmulgee County, Oklahoma,
      OKN        4       19í00131     The v. Purdue Pharma, L.P. et al
                                      County Commission of Rogers County, Oklahoma, The
      OKN        4       19í00132     v. Purdue Pharma, L.P. et al
                                      County Commission of Nowata County, Oklahoma, The
      OKN        4       19í00133     v. Purdue Pharma, L.P. et al
                                      County Commission of Creek County, Oklahoma, The
      OKN        4       19í00134     v. Purdue Pharma, L.P. et al
                                      County Commissioner of Mayes County, Oklahoma,
      OKN        4       19í00136     The v. Purdue Pharma, L.P. et al
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     PENNSYLVANIA EASTERN

                                      CHESTER COUNTY, PENNSYLVANIA v. PURDUE
       PAE       2       19í01018     PHARMA L.P. et al

    TENNESSEE WESTERN

      TNW        2       19í02159     City of Memphis v. Purdue Pharma, L.P. et al

    WASHINGTON WESTERN

      WAW        2       19í00368     Snohomish County v. Purdue Pharma LP et al Opposed 3/27/19
      WAW        3       19í05173     City of Lakewood v. Purdue Pharma LP et al
Case 4:19-cv-00130-CVE-FHM Document 6 Filed in USDC ND/OK on 03/28/19 Page 4 of 4




                  Conditional Transfer Order (CTO 85) MDL 2804
                                      InterdistrictTransfer_AZD,
                  OHNDdb_MDL to: InterdistrictTransfer_INSD,                                03/28/2019 02:37 PM
                                      InterdistrictTransfer_KYED,
                  Sent by: Robert T Pitts

  From:          OHNDdb_MDL/OHND/06/USCOURTS
   To:           InterdistrictTransfer_AZD@azd.uscourts.gov, InterdistrictTransfer_INSD@insd.uscourts.gov,
                 InterdistrictTransfer_KYED@kyed.uscourts.gov, InterdistrictTransfer_NMD@nmd.uscourts.gov,
                 InterdistrictTransfer_NYWD@nywd.uscourts.gov,
   Sent by:      Robert T Pitts

  Greetings

  Attached is a certified copy of the Transfer Order from the Judicial Panel on Multidistrict Litigation
  directing the transfer of actions listed to the Northern District of Ohio.

  When the case has been closed in your district please:

  1. Initiate the civil case transfer functionality in CM/ECF.
  2. Choose court Ohio Northern.

  After completion of this process the NEF screen will display the following message:

   Sending email to InterdistrictTransfer OHND@ohnd.uscourts.gov

   If this is not displayed, we have not received notice.

   We will initiate the procedure to retrieve the transferred case upon receipt of the email.



  2804 Certified CTO 85.pdf
